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The Honorab|e Marc Barreca
United States Bankruptcy Judge

|N THE UN|TED STATES BANKRUPTCY COURT
FOR THE WESTERN D|STR|CT OF WASH|NGTON AT SEA'I_|`LE

 

|n re: NO. 11-19560
Richard K Winn, and Adv. Proceeding No.
Libia Winn
Debtors
VER|F|ED COMPLA|NT TO
Richard KWinn, and DETERN||NE DISCHARGEAB|L|TY
Libia Winn UNDER 11 U.S.C. § 523(a)(8)
P|aintit"fs
vs.
Nationa| Co||egiate Student Loan
Trust 2006-2, a De|aware Statutory
Trust,
Defendant

 

 

 

CO|V|ES NOW the Plaintiffs, Richard K Winn and Libia Winn (“P|aintiffs”), by and
through their attorney, Brad L. Puffpaff, and hereby states:
JUR|SD|CT|ON
1. P|aintiffs reside in Snohomish County, Washington, and are the debtors in
the correlating chapter 7 bankruptcy case filed 8/11/2011.
2. Upon information and belief, Defendant is a presently known entity Who
either loaned Plaintitfs funds, has taken assignment of a loan incurred by Plaintiffs, or is

the agency guaranteeing said loan.

Verif`led Complaint to Bountiful Law, PLLC
Deterrnine Dischargeability l 4620 200th Street SW, Suite D
under ll USC 523(a)(8) LleWOOd, WA 93036

425-775-9700 Fax 425-633-2465

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3. This Court has jurisdiction under 28 U.S.C.§ 157 and § 1334 to hear this
adversary proceeding P|aintiffs initiate this proceeding under § 157(b)(2)(l) seeking a
declaration that the loan from Defendant does not constitute a loan made for an
“educationa| benefit” under Bankruptcy Code section 523(a)(8), and therefore such loan
should not be excepted from discharge.

4. ln the alternative, P|aintiffs seek a declaration that any such loan, or
portion of loan, that may be determined to be a loan for “educationa| benefit” constitute
an undue hardship for the P|aintiffs and should be discharged pursuant to section
523(a)(8) of the Bankruptcy Code.

5. Venue is proper as this bankruptcy case was filed in the Western District
of Washington at Seattle and the debtor resides in Snohomish County, Washington.

FACTS

6. ln 2006, P|aintiffs' minor daughter was struggling with mental heath issues
to which they were unable to find effective treatment within their community.

7. Upon significant research, P|aintiffs discovered a promising mental health
program for youth offered by West Ridge Academy (the “Academy”), but quickly
discovered the cost was more than they could pay.

8. According to the West Ridge Academy’s website, the core function of the
Academy is to “provide lasting solutions through comprehensive mental health services
for youth and their families.”

9. The Academy informed P|aintiffs that the cost for treatment could be

financed through associated private lenders.

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10. The Academy assisted them in completing a loan application with Bank of
America N.A. for a loan denominated as a prepGATE loan.

11. The top of the loan application reads “Non-Negotiab|e Credit Agreement -
This is a Consumer Credit Transaction" in bold print.

12. The first two pages completed by P|aintiffs do not indicate or suggest the
loan is for educational purposes.

13. Upon approva|, Bank of America paid $30,000.00 directly to the
Academy.

14. A|most immediately, the loan was transferred, sold, and assigned directly
to Defendant, National Co||egiate Student Loan Trust 2006-2, or to an intermediary,
National Co||egiate Funding, LLC, who then immediately transferred, sold and assigned
the loan to Defendant

15. After their daughter attended the Academy for two monthsl P|aintiffs
discovered her condition was worsening, and subsequently withdrew her from the
program.

16. The Academy charged approximately $19,000.00 for two months of
mental health treatment for Plaintiffs’ daughter, and refunded to P|aintiffs approximately
$11,000.00

17. P|aintiffs immediately sent the refunded proceeds of $1 1,000.00 to
Defendant via USPS Certified Mail.

18. Upon information and belief, the loan referred to herein is described by

Defendant as account number xxxxx4661-001-PHEA.

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19. P|aintiffs filed a chapter 7 bankruptcy on 8/11/2011 Case No. 11-19560
where they listed the loan referred to herein and the Defendant’s servicer at the time,
American Education Services, on Schedu|e F.

20. P|aintiffs received a discharge on 12/07/2011, and their case was closed
12/14/2011.

21. Defendant, or Defendant’s servicer and/or representative continued
collection efforts against P|aintiffs after receiving the discharge order.

22. Defendant has alleged that the loans at issue are “educationa| loans” and
excepted from discharged under 523(a)(8).

23. On 6/22/2017, Defendant filed a Summons and Complaint for lV|onies
Due against Libia Winn in the Superior Court of State of Washington for Snohomish
County, Case No. 17-2-06072-31.

24. Defendant has alleged the outstanding balance on the loan is $29,065.08
as of 5/11/2017.

FlRST CLAIM FOR REL|EF

Declaration That the Loan ls Not Excepted
from Discharge under 11 U.S.C. § 52313118|

25. The P|aintiffs repeat and reallege the allegations contained in paragraphs
1 through 24 of this Complaint as if fully set forth herein.

26. Section 523(a)(8)(i) of the Bankruptcy Code excepts from discharge an
overpayment, loan, or obligation to repay funds received for an “educational benefit”

when guaranteed or made by a governmental unit, or funded under a non-profit

institution.
Verified Complaint to Bountiful Law, PLLC
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27. Section 523(a)(8)(ii) of the Bankruptcy Code excepts from discharge
obligations to repay funds received as an “educational benel?t", scholarship, or stipend.

28. Under either section, the discharge exception only applies to debts for
educational benefit.

29. A|though the Bankruptcy Code does not define “educational benefit”,
legislative history of Section 523(a)(8) shows Congress intended the exception to
discharge to only apply to post-secondary educational program and institutions

30. The loan in this case was incurred to pay West Ridge Academy for the
mental health treatment of Plaintiffs’ minor daughter,

31. West Ridge Academy is a mental health treatment facility for minors.

32. The loan made by Defendant is not for and educational benefit within the
meaning of 523(a)(8) of the Bankruptcy Code.

33. West Ridge Academy not a post-secondary educational institutionl nor
does it provide a post-secondary educational program.

34. As a resu|t, the amount of the debt due Defendant has been discharged
pursuant to Bankruptcy Code § 727.

SECOND CAUSE OF ACT|ON
Dischargeability Mer 11 l_J_._S.C. § 523(a)(8)

35. The P|aintiffs repeat and reallege the allegations contained in paragraphs
1 through 34 of this Complaint as if fully set forth herein.

36. Should the court determine that any portion of the loan was made for an
educational benefit under Section 523(a)(8), P|aintiffs alternatively claim repayment of

the loan would impose an undue hardship on P|aintiffs.

Verif'ied Complaint to Bountiful Law, PLLC
Determine Dischargeability 4620 200th Street SW, Suite D

under 11 USC 523(a)(8) Lynnwood, WA 98036
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37. Under the Brunner Test, a debtor must establish that 1) based on current
income at the time of filing bankruptcy P|aintiffs cannot maintain a “minimal” standard of
living if forced to repay the loan; 2) the state of affairs is likely to persist for a significant
portion of the repayment period; and 3) Debtor has made a good faith effort to repay the
loan.

38. Plaintiffs’ only income at the time of filing was unemployment
compensation in the amount of $1,449.10, as indicated on Plaintiffs’ Schedule |.

39. Plaintiffs’ monthly expenses as listed on Schedule J. totaled $1,799.00,
showing a net loss of $349.90.

40. P|aintiffs expenses on Schedule J are reasonable expendituresl however,
they do not include a mortgage/rental expense, or payment for an education |oan.

41. Based on P|aintiffs Schedules, they were unable to maintain a minimal
standard of |iving, which would have worsened if required to pay the debt owed to
Defendant.

42. Present|y, P|aintiffs monthly household income is $4,166.00. Their
monthly expenses total $4,483.00 for a monthly loss of $317.00.

43. P|aintiffs are both presently employed, and although their income has
increased since filing bankruptcy, their expenses have also increased.

44. P|aintiffs current monthly expenses are reasonable expenditures, and do
not include any payments toward an educational |oan.

45. Plaintiff Libia Winn suffers from rheumatoid arthritis, which is a chronic health

issues that limits her ability to work.

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46. P|aintiffs are both approaching retirement age, with a combined retirement
account value of approximately $23,000.00.

47. Due to health, ski|l, and health limitation, Plaintiffs’ employment, income,
and retirement savings is unlikely to improve.

48. As a result, P|aintiffs are unlikely to have suchient funds to permit them to
retire at a reasonable age if required to pay the loan owed to Defendant,

49. For the past six years P|aintiffs have been unable to maintain a minimal
standard of living.

50. P|aintiffs are still presently unable to maintain a minimal standard of living.

51. Since 2006, P|aintiffs have made several small payments toward the loan
despite significant financial hardship.
52. Upon Defendant’s request for payment, P|aintiffs have made repeated
offers to make small payments over time including payments of $25 and $80 per month.
53. The loan made by Defendant does not qualify for an income based
repayment plan.

54. Despite their good faith efforts to repay, P|aintiffs cannot maintain a
minimal standard of living now or in the foreseeable future if required to pay the loan.

55. Plaintiffs’ inability to maintain a minimal standard of living is likely to
persist for a significant portion of the repayment period of the loan, including into
Plaintiffs’ retirement years.

56. Excepting the loan from discharge under 523(a)(8) would impose an

undue hardship on Plaintiffs.

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Determine Dischargeability 7 4620 200‘*‘ Street SW, Suite D
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TH|RD CAUSE 0F ACTlON
Violation of Dischar e |n'unction under 11 U.S.C. 524

57. The Plaintiff repeats and realleges the allegations contained in paragraphs
1 through 56 of this Complaint as if fully set forth herein Plaintiff is permanently disabled
and unable to obtain employment

58. A|though violations of the discharge injunction are generally brought by a
lVlotion for Contempt, P|aintiffs are including this cause of action in this adversarial
proceeding because it depends on the outcome of the case.

59. ln the event the court determines the loan made by Defendant was not for
an educational benefit, and therefore subject to discharge under 11 U.S.C. §727,
P|aintiffs seek an order of contempt under 11 U.S.C. §105 for Defendants violation of
the discharge injunction.

60. Defendant has made repeated attempts to contact and collect payment on
the loan made to Plaintiffs.

61. Defendant has in fact contacted and collected payments from P|aintiffs
toward the loan.

62. Defendants commenced a civil action in Snohomish County Superior
Court against Plaintiff Libia Winn on 6/22/2017.

63. Defendants actions are in violation of the discharge injunction under 11
U.S.C. §524.

64. As a result of Defendant’s actions, P|aintiffs have incurred actual damages
including court cost and attorney fees.

WHEREFORE, P|aintiffs respectfully request:

Verif`ied Complaint to Bountiful Law, PLLC
Determine Dischargeability 8 4620 200“' Street SW, Suite D

under l l USC 523(a)(8) Lynnwood, WA 98036
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1. That summons be issued for service upon Defendants;

2. That the Court declare Defendants loan to P|aintiffs was not for an “educational
benefit”, and, therefore, has been discharged under §727 of the Bankruptcy Code;

3. ln the alternative, that the Court determine pursuant to 11 U.S.C. §523(a)(8) that
all or part of the loan obligation to Defendant be discharged as it would impose an
undue hardship on Plaintiffs;

4. An order of contempt against defendants awarding P|aintiffs damages, costs and
attorney’s fees;

5. Leave to amend pleadings to conform to the evidence at trial or as may otherwise
be necessary; and

6. Such other relief to which P|aintiffs may be entitled as a matter of law, or which
may be just and proper.

Dated this 22nd day of August, 2017.

/S/ Brad Puffgaff
Brad Puffpaf'f, WSBA #46434

Attorney for Plaintiff
Verified Complaint to Bountiful Law, PLLO
Determine Dischargeability 9 4620 200“' Street SW, 511le D
under ll USC 523(a)(8) ' Lynnwood, WA 98036

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VER|F|CAT|ON
l declare under penalty of perjury under the laws of the state of Washington that |
have read the foregoing complaint, know the contents, and that the foregoing

complaint is true and correct to the best of my knowledge and understanding

Dated this 22nd day of August, 2017

Richard K. winn, Plaintiff

 

 

Libia Winn, Plaintiff

Verif`led Complaint to Bountiful Law, PLLC
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